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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

GREGORY M. PERIUS,                                   )
                                                     )
                         Plaintiff,                  )
                                                     )   No. 07 C 1251
                v.                                   )
                                                     )   HONORABLE DAVID H. COAR
ABBOTT LABORATORIES,                                 )
                                                     )
                         Defendant.                  )



                             MEMORANDUM OPINION AND ORDER

       This case concerns plaintiff Gregory Perius’s claim that he was fired by Kos

Pharmaceuticals, Inc., a company subsequently acquired by defendant Abbott Laboratories, Inc.,

because he was a whistleblower. The drug sales and marketing practices he claims to have

complained about were and are the subject of a federal investigation, a fact that has posed

numerous challenges for this litigation. Many of the defendant’s witnesses have asserted the

attorney-client privilege or the Fifth Amendment right against self-incrimination, leaving some

questions—particularly those concerning the motive for Perius’s termination—unanswered. But

despite this significant evidentiary gap, both parties have filed cross-motions for summary

judgment, asserting that the facts, even when viewed in the light most favorable to the opposing

side, support a judgment in the movant’s favor. Because the court agrees with Abbott that no

jury could conclude that Perius is entitled to whistleblower protection under the False Claims

Act, 31 U.S.C. § 3730(h), the court GRANTS Abbott’s motion for summary judgment on

Perius’s sole claim under federal law and relinquishes its supplemental jurisdiction over the



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remaining state-law claims. The court also DENIES Perius’s motion for summary judgment,

GRANTS in part and DENIES in part Abbott’s motion to strike Perius’s responses, and DENIES

Perius’s motion to modify Magistrate Judge Soat Brown’s protective order.

                                            I. FACTS1

        Both parties claim that many of the other side’s facts, while labeled “undisputed,” are in

fact in dispute. The court has considered these arguments, along with Abbott’s motion to strike

Perius’s responses to its statement of facts. The court has ignored “facts” that are irrelevant,

argumentative, unsupported by the citations provided, or legal conclusions. The court also has

considered Perius’s motion to modify Magistrate Judge Brown’s protective order. Because that

motion is untimely, and because, in any event, the information Perius seeks does not bear on the

decisive issue in this case, the motion is denied. Accordingly, the following facts, unless

otherwise noted, are undisputed:

        Kos Pharmaceuticals, Inc., hired Perius in 1997. He held the position of Regional

Director, supervising numerous district managers who in turn supervised pharmaceutical sales

representatives. (AF ¶1.)2

        In February 2005, Kos’s general counsel, Andrew Koven, received a telephone call from

the general counsel of Innovex, a company that provided contract sales personnel to Kos,

informing him that the FBI was questioning an Innovex employee about Kos. (AF ¶2.) Soon

thereafter, in March 2005, Kos learned that the United States Department of Justice was

1
 Because the court’s opinion is confined to the federal claim at issue, it omits facts that are
relevant only to the state-law claims.
2
  The citation “AF” refers collectively to Abbott’s statement of undisputed facts, Perius’s
response to those facts (if any), and Abbott’s reply (if any). The citation “PF” refers to Perius’s
statement of additional facts, along with Abbott’s response to those facts (if any).

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investigating the company’s sales and marketing practices. (Id.) The government initiated its

investigation as a result of a qui tam complaint filed by a former Kos employee (not Perius).

(AF ¶3.) As part of the investigation, the DOJ issued several federal subpoenas duces tecum,

including one directed to the company and others directed to four employees, including Perius,

Nick Polczinski, and Wendy Kopatich. (AF ¶2.)

       As a result of the government’s investigation, Koven hired the law firm of Holland &

Knight LLP (“H&K”) (1) to assist the company and individual employees in complying with the

DOJ investigation; and (2) to conduct its own internal investigation. (PF ¶12.) Both Richard

King, executive vice president of commercial operations at Kos, and John Hogan, an H&K

attorney, acknowledged that, because the company was under investigation, there was a

possibility of litigation. (PF ¶11.)

       Perius’s Compliance with the Government’s Subpoena

       Upon receiving the subpoena, Perius—who at the time did not know what a subpoena

was and what was required of him—became concerned and suffered stress. (AF ¶12; PF ¶1.)

And after his first interview with H&K in early March 2005, Perius became concerned that he

and his district were being singled out for using sales and marketing techniques that he believed

were used throughout the company. (AF ¶12.) At the same time, he did not believe that he or

Kos had done anything wrong. (PF¶1.) But he was concerned enough to seek assurances from

Koven and other Kos executives that he would not need his own legal counsel. (PF ¶4.)

       Koven told Perius to cooperate fully with H&K. (PF¶1; AF¶9.) Perius knew, of course,

that H&K was not affiliated with the DOJ or any other governmental agency, but he did




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understand the firm to be a conduit to the DOJ for documents produced by the company in

response to the subpoena. (PF ¶1; AF ¶9.)

       Between March and June 2005, Perius produced documents as requested over time to the

DOJ, in compliance with his subpoena. (AF ¶10.) He promptly gathered documents he believed

were responsive and, along with a copy of his computer hard drive, sent everything to H&K.

(AF ¶10; PF ¶2.) H&K would then review the documents for any privileged communications,

place them on CDs, affix bates labels, and send the disks back to Perius, who would then send

the disks to Assistant United States Attorney Mel Johnson, in the U.S. Attorneys’ office. (PF

¶¶2,5.) The final production of disks took place on June 9, 2005. (AF ¶13.)

       The materials Perius sent included documents relating to Kos’s sales and marketing

practices, and they could potentially be used in a prosecution against the company. (PF ¶¶6,7.)

At his deposition, Hogan asserted attorney-client privilege in response to questions about the

content of the materials Perius forwarded to the government and any deletions or alterations of

those documents by H&K prior to their transmittal to the government. (PF ¶8.) For summary

judgment purposes, the court may assume that there was damaging information in the

documents, which are the subject of a protective order.

       Perius produced the documents because he was required to do so under the subpoena.

(AF ¶11.) At the time, Perius did not believe that either he or Kos were breaking any laws or

doing anything wrong. (AF ¶14.) And, other than the documents he produced in response to his

subpoena, Perius did not tender any documents to the government during his employment at

Kos, nor did he have any contact or speak with any government official or investigator. (AF

¶¶15,16.)


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       Perius’s Participation in Kos’s Internal Investigation

       As part of Kos’s internal investigation, which lasted from March 2005 through December

12, 2006, when Abbott acquired Kos, H&K attorneys interviewed numerous Kos employees.

(AF ¶7.) Perius was among them, and he met with H&K five times, with meetings occurring in

both Chicago and Miami. (AF ¶8.) Perius was advised by both Kos’s legal counsel and H&K

that he should communicate directly with them regarding the investigation. (PF ¶5.)

       On March 4, 2005, Perius and his subordinates were interviewed by John Hogan and

Michael Manthei, both H&K attorneys. Perius told them about the company’s long-standing

sales and marketing practices. (PF ¶3.)    H&K attorneys interviewed him three or four more

times between March 2005 and January 5, 2006, and on each occasion Perius advised them of

the company’s sales and marketing practices. (PF ¶5.)

       Hogan met with AUSA Stacy Ward more than ten times regarding the DOJ’s

investigation of Kos’s sales and marketing practices. He did not tell her or any other AUSA

what he had learned from Perius regarding the company’s national sales and marketing practices.

(PF ¶8.)

       Perius’s Internal Queries and Complaints

       Beginning in January 2006, Perius began to raise concerns with some of his superiors,

including Mike Tilbury, senior vice president of cardio pulmonary sales, Mark Glickman, vice

president of sales in the cardio-metabolic division, José Sierra, senior vice president and chief

compliance officer (who also worked with H&K during its investigation), and Richard King,

executive vice president of commercial operations. For the most part, he sought clarification of

Kos’s policy with regard to certain sales and marketing practices, including whether certain


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activities were permitted. He would then report the information he learned from Kos

management to his subordinates and instruct them to comply with Kos’s sales and marketing

policies. (AF ¶17.)

        Perius saw it as part of his role to make sure his subordinates were adhering to the Kos

code of conduct. (AF ¶26.) On January 14, 2006, for example, he specifically instructed district

managers Mark Miller and Peter Engbretson not to provide to medical professionals Chicago

Bulls tickets (which he believed had been given to them by board member Steve Jaharis). (AF

¶25.)

        On January 26, 2006, Sierra and Koven led a training session on compliance with sales

and marketing laws. (PF ¶10.) After receiving compliance training, Perius gave his team

explicit orders to follow scrupulously the practices outlined in the compliance training. (PF

¶10.) But the presentation raised many questions in Perius’s mind. According to Perius,

“[t]hings that we had always been taught and encouraged to do, we were now being told were

illegal and could land us in jail.” Because Perius and members of his sales team had many

questions following the meeting, he sought clarification in emails to Tilbury, Sierra, and King.

(AF ¶19.) For example, on February 6, 2006, Perius received an email from Bob Kron, one of

his subordinates, regarding the Minnesota Gift Law, which restricts gifts by pharmaceutical

companies to doctors. Kron wrote, “For the purpose of wanting to make sure we are doing the

right thing in Minnesota, I wanted to bring this to your attention.” Perius then forwarded this

email to Sierra, Tilbury, and King “looking to get some guidance on this law.” Perius’s purpose

in forwarding this email was to get additional clarification regarding the issue his subordinate

had raised. (AF ¶24.)


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       In April 2006, Sierra and Koven prepared and produced a Question & Answer document

addressing the questions that were raised after their January presentation. (The parties dispute

whether the document answered all of the employees’ questions.)3 Perius received the document

from Tilbury on April 13, 2006. (AF ¶20.) Perius did not find the document adequate in

addressing his and his subordinates’ concerns. (AF ¶21.) He continued to receive questions

from his subordinates about compliance issues, including questions about whether the use of

certain studies (“the HAT study, the admin study”) was permitted. Further, subordinates

continued to raise questions “about advanced lipid testing being used across the country[.]”

Perius emailed Koven, Sierra, and Tilbury to seek clarification and to inform them of possible

violations of Kos policies in other regions. (AF ¶22.)

       Perius also reported (primarily via email, but sometimes in person) to Tilbury, Glickman,

Sierra, and King, what his district managers were reporting to him anecdotally: that other regions

were engaging in sales and marketing activities not permitted under Kos policy. Perius testified

that the purpose of his emails was both to seek clarification regarding compliance and to ensure

compliance by reporting any ongoing potential violations. (AF ¶¶18,26.) Perius felt that his

superiors were not adequately addressing these concerns, and that they were growing short with

him for raising them. (PF ¶9.)

       From time to time, again mostly in early 2006, Perius also repeated messages from his

       3
         The parties dispute whether Sierra and Koven violated the company’s Document
Retention Policy and the DOJ’s subpoena by failing to account for index cards containing
employees’ questions about compliance issues from the January 26, 2006 training session. Sales
team members wrote their questions on the cards, and Sierra and Koven later compiled questions
from the cards, along with their responses, in an electronic document. Koven and Sierra testified
that they were unsure what happened to the index cards. But Sierra testified that, because the
questions on the cards were reproduced in an electronic document, they were never discarded.
The whereabouts of the index cards, in any event, are unknown. (PF ¶24.)

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subordinates or attempted to bring to the attention of Tilbury, Sierra, and King what he believed

to be violations of Kos policies and certain applicable laws. (AF ¶23.) Specifically, on multiple

occasions between March and October 2006, Perius expressed concern to King, Tillbury, and

Glickman, that recommending Kos drugs for the treatment of conditions based on certain studies

could be considered selling drugs for off-label purposes, which he understood to be illegal. (PF

¶9.)

       At no time during his employment, however, did Perius allege or inform anyone that Kos

was falsely collecting funds from the government, nor did he ever claim that Kos was

committing fraud on the government. (Abbott Facts ¶¶29, 30.) Perius also never told anyone at

Kos that he was considering filing a qui tam complaint. (AF ¶30.) And, indeed, Perius did not

file a qui tam suit while he was a Kos employee. (AF ¶31.) During his employment with Kos,

moreover, Perius never met or spoke with anyone affiliated with the DOJ or U.S. Attorney’s

Office. (AF ¶32.) He also did not speak or meet with any officer or employee of the state of

Illinois. (AF ¶33.)

       The Document Retention Policy

       On March 2, 2005, as part of Kos’s response to the investigation, Kos issued a

“Document Retention and Preservation Notice” (“Document Retention Policy”) to all

employees, including Perius. (AF ¶¶4,5.) The Document Retention Policy required, among

other things, that employees “NOT DELETE, DESTROY, OR ALTER ANY . . .

DOCUMENTS” related to the company’s sales and marketing practices. (AF ¶6.)

       Although Perius did not think he had ever done anything wrong, he became concerned

about how a certain PowerPoint presentation addressing certain sales and marketing activities


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would be viewed by the government. The PowerPoint presentation, dated May 6, 2003, had

been prepared at Perius’s direction by Mark Miller, one of his subordinates, in Spring 2003. (AF

¶37.)

        On or about March 9, 2005, shortly after Perius received his subpoena, he told one of his

subordinates, Dan Niedbalski, that the government’s investigation of the company’s

preceptorships and grant activities concerned him because he had just recently learned that those

activities were possibly prohibited under some of Kos’s newer compliance policies. (AF ¶38.)

He then told Niedbalski, “The fact is, you know, some presentations that are out there, such as

Mark Miller’s presentation, had a lot of these types of activities, managed care presentations.”

He further said, “There is [sic] presentations out there like managed care presentations from

people like Mark Miller and Scott Patry that had all these types of activities in them.” And he

told Niedbalski that he had forwarded the Miller presentation to all district managers, directors,

and vice presidents of the company. He said he “was concerned who still had that in their

computers.” (AF ¶39.) At the same time, Perius told Niedbalski not to worry about being

subpoenaed, and to follow the Document Retention Policy. (AF ¶39.) According to Perius,

Niedbalski asked whether he should reach out to the other district managers, and Perius said,

“you can talk to anybody you want to. Just be sensitive to what you say, be sensitive to the fact

that the retention document [sic] in terms of deleting things, throwing things out, whatever it

might be.” (AF ¶40.)

        Niedbalski proceeded to place phone calls later that day to other district managers in

Perius’s region, including Joseph Hennessy. (AF ¶41.) (Niedbalski has refused to testify about

those calls, however, asserting his Fifth Amendment right against self-incrimination.) (AF ¶41.)


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       Perius’s Termination

       Nearly 18 months after Perius’s conversation with Niedbalski, Kos learned about it and

investigated Perius’s conduct through its outside counsel. (AF ¶42.) The parties dispute many

of the facts related to that investigation, largely because Abbott’s witnesses have refused to

answer questions on the grounds of attorney-client privilege. (AF ¶¶43-47; PF ¶¶22-27.) The

parties have stipulated, however, that the PowerPoint presentation was delivered unaltered to the

government. Whether the company’s representatives believed that Perius told Niedbalski to alter

the presentation, and whether that was the reason for his termination, however, are disputed

issues. (AF ¶¶43-47.) Although Sierra and Koven testified that they believed Perius had

violated the Document Retention Policy and potentially obstructed justice, they and Adrian

Adams, Kos’s CEO, refused to answer many questions about how they reached that conclusion.

(AF ¶46.) Meanwhile, Perius testified that he believed he was terminated because he brought

certain sales and marketing practices to the attention of Kos’s upper management. (AF ¶48.)


                         II. SUMMARY JUDGMENT STANDARD
       A party seeking summary judgment has the burden of showing, through “pleadings,

depositions, answers to interrogatories, and admissions on file, together with the affidavits, if

any,” that there are no genuine issues of material fact that would prevent judgment as a matter of

law. Fed. R. Civ. P. 56(c). On a motion for summary judgment, courts “must construe all facts

in the light most favorable to the non-moving party and draw all reasonable and justifiable

inferences in favor of that party.” Allen v. Cedar Real Estate Group, LLP, 236 F.3d 374, 380

(7th Cir. 2001).




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        The nonmoving party, in turn, may not rest on the allegations in his pleadings or

conclusory statements in affidavits; he must support his contentions with evidence that would be

admissible at trial. Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986); see Albiero v. City of

Kankakee, 246 F.3d 927, 932 (7th Cir. 2001); Fed. R. Civ. P. 56(c). To avoid summary

judgment, the nonmovant must do more than raise a “metaphysical doubt” as to the material

facts. See Wolf v. Northwest Ind. Symphony Soc‘y, 250 F.3d 1136, 1141 (7th Cir. 2001) (citation

and quotation omitted). And “a complete failure of proof concerning an essential element of the

nonmoving party’s case necessarily renders all other facts immaterial.” Celotex, 477 U.S. at

323.

                                               III. ANALYSIS

        The “whistleblower” provision of the False Claims Act provides in relevant part: “Any

employee who is discharged . . . or in any other manner discriminated against in the terms and

conditions of employment by his or her employer because of lawful acts done by the employee . .

. in furtherance of an action under this section, including investigation for, initiation of,

testimony for, or assistance in an action filed or to be filed under this section, shall be entitled to

all relief necessary to make the employee whole.” 31 U.S.C. § 3730(h). The Seventh Circuit has

explained that the statute requires a plaintiff to show that: “(a) his actions were taken ‘in

furtherance of’ an FCA enforcement action and were therefore protected by the statute; (b) his

employer had knowledge that he was engaged in this protected conduct; and (c) his discharge

was motivated, at least in part, by the protected conduct.” Fanslow v. Chicago Manufacturing

Ctr., Inc., 384 F.3d 469, 479 (7th Cir. 2004); Brandon v. Anesthesia & Pain Management

Assocs., Ltd., 277 F.3d 936, 944 (7th Cir. 2002).



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       The court begins (and ends) with the first element of a whistleblower-retaliation claim

under the FCA: whether Perius took action “in furtherance of” an FCA enforcement action. This

element requires consideration of (1) the type of activity he engaged in, and (2) his purpose in

engaging in the activity. Luckey v. Baxter Healthcare Corp., 2 F. Supp. 2d 1034, (N.D. Ill.

1998) (Castillo, J.) (“Luckey I”), aff’d, 183 F.3d 730 (7th Cir. 1999) (“Luckey II”). Non-

exclusive examples of activities covered are in the statutory text itself: investigation for, initation

of, testimony for, and assistance in, an FCA action. See 31 U.S.C. § 3730(h). Because the

purpose of the statute was to “assure those who may be considering exposing fraud that they are

legally protected from retaliatory acts,” United States ex rel. Yesudian v. Howard Univ., 153

F.3d 731, 736 (D.C. Cir. 1998) (quoting Senate Judiciary Committee, S.REP. No. 99-345, at 34,

reprinted in 1986 U.S.C.C.A.N. at 5299), the statute requires that a plaintiff’s purpose involve

“at least some ingredient of uncovering fraudulent activity.” Luckey I, 2 F. Supp. 2d at 1051-52

(collecting cases). At the same time, though, there is no requirement that the plaintiff know that

the activities under investigation could lead to an FCA prosecution, nor even that he know of the

FCA. To satisfy the purpose requirement, the plaintiff must show only that he had a reasonable,

good faith belief that the employer was committing fraud against the government. Fanslow, 384

F.3d at 480.

       Here, Perius contends he engaged in three protected activities: (1) compliance with the

government’s subpoena; (2) alerting H&K during its internal investigation to sales and

marketing practices; and (3) complaining to upper-level management.




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1. Compliance with the Government’s Subpoena Duces Tecum.

       Perius contends that, by sending documents to the government between March and June

2005, in compliance with the subpoena, he engaged in protected activity. Without addressing his

purpose in responding to the subpoena, Perius simply asserts that, because it was a lawful

activity that may have assisted the government’s investigation, it is protected. Abbott responds

that, because it is undisputed that Perius did not believe that Kos was committing fraud against

the government, his compliance with the subpoena cannot be considered protected activity under

the FCA. And Abbott contends that no court has held that simple compliance with a legal

obligation to produce documents is “whistleblower” activity.

       On both scores, the court agrees with Abbott. First, there is simply no evidence that

Perius believed that Kos was committing fraud against the government when he responded to the

subpoena, and this dooms his claim that his activity was “in furtherance of” the government’s

investigation. See Fanslow, 384 F.3d at 480. It is undisputed that Perius did not believe that he

or Kos had done anything wrong at the time he responded to the subpoena. Viewed in the light

most favorable to Perius, the record shows that he was, at most, worried that his region was

being singled out for scrutiny. That is a far cry from the employee in Fanslow, who believed

that his organization was defrauding the federal government by diverting its nonprofit funds to a

for-profit entity in which the executives had a personal stake, and who told a federal official as

much. 384 F.3d at 480. Here, there is no evidence that Perius had formed any belief that

unlawful activity was afoot, let alone a fraud on the government, when he complied with the

subpoena. And Perius’s subsequently formed belief that some practices were illegal—which was




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not articulated until after the January 26, 2006 compliance training—came long after his final

response to the government’s subpoena.

       Perius’s inability to satisfy the purpose requirement is enough to distinguish his case

from Childree v. UAP/GA AG Chem, Inc., 92 F.3d 1140 (11th Cir. 1996), the only other FCA

case he cites to support this claim. In Childree, the employee refused to participate in a

customer’s billing scheme and then vocalized to her superiors her concern that the scheme would

defraud the government. A month later, a government official came to her office and spoke to

the employee about the customer. The employee told the official about the customer’s request

and later sent a written statement memorializing her account. She also made copies of the

customer’s billing request. Id. at 1142-43. Four years later, she was subpoenaed in an

administrative hearing. Although she was hesitant to participate because she feared retaliation,

she ultimately testified and provided documents at that hearing, including the photocopied

billing request. Id. at 1143. Within a week of her testimony she was suspended, and within two

weeks she had been fired. Id.

       Unlike the employee in Childree, Perius did not believe that his employer had done

anything wrong when he responded to the subpoena. Perius, moreover, did not take any

affirmative steps (beyond what he was legally obligated to do) to assist the government.

       The other cases Perius cites involved the application of different laws. Tesch v. Txport,

Inc., No. 93 C 4367, 1995 U.S. Dist. LEXIS 13432 (N.D. Ill. Sept. 13, 1995) (Williams, J.), a

retaliatory-discharge case under Illinois law, involved an employee who filed a wage claim

against his employer and later refused to disregard a subpoena for documents. Id. at *9.

According to the employee, his supervisor had instructed him not to produce certain documents


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in response to the subpoena. Despite that command, the employee appeared in court and

produced all of the subpoenaed documents. Id. at *2-3. The court concluded that, if the

employee was fired for having done so, he would have a viable retaliatory discharge claim

because “allowing employers to coerce their employees to interfere with the judiciary’s truth

finding process” would contravene Illinois’s law and public policy. Id. at *17.

       The court did not have occasion to consider whether the employee’s actions were “in

furtherance” of an investigation, as the case involved an entirely different law. But even leaving

that issue aside, Perius’s actions are simply not comparable to the employee in Tesch because

there is no evidence that anyone at Kos discouraged him from complying with the subpoena.

Unlike the employee in Tesch, Perius does not contend that his compliance with the subpoena

was in defiance of a contrary command from his employer—a missing ingredient that could, in

other cases, qualify an employee for whistleblower protection.

       Finally, Perius’s reliance on Evans v. City of Houston, 246 F.3d 344 (5th Cir. 2001), a

Title VII case, is misplaced. Evans involved an employee who appeared pursuant to a subpoena

at a grievance hearing and testified on behalf of a coworker who had alleged race and age

discrimination. The court concluded that she had engaged in “protected activity” under Title

VII, which protects an employee who has “made a charge, testified, assisted, or participated in

any manner in an investigation, proceeding or hearing” under Title VII. Id. at 352-53. But Title

VII’s broad antiretaliaton provision, unlike the FCA, does not include a parallel requirement that

the employee act “in furtherance of” a Title VII action.

       The court leaves open the possibility that, under different circumstances, simply

complying with a subpoena could be considered “protected activity” under the


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FCA—particularly if, as in Tesch, the employer discouraged the employee from complying. But

under these facts—where an employee does not believe that his employer has committed fraud

on the government and does not comply with a subpoena with the purpose of uncovering such

fraud— the employee cannot be said to have engaged in protected activity under the FCA.

       2. Participation in the H&K Investigation

       Perius contends that his participation in the internal investigation conducted by H&K

attorneys was protected activity. He says that, because he told H&K about company-wide sales

and marketing practices (which, he now contends, are illegal), he engaged in protected activity.

Abbott responds that, in speaking to H&K, Perius was simply complying with the company’s

internal investigation, and he knew that H&K was not affiliated with the government.

       Even assuming, for summary judgment purposes, that the information Perius provided to

H&K about Kos’s sales and marketing practices would show that those practices were illegal

(and even a fraud on the government), Perius faces the same hurdles in this claim: First, when

he provided information to H&K in interviews between March 2005 and January 2006, he did

not believe that the company had done anything wrong. Perius testified, rather, that his concern

was only that his region was being singled out for employing company-wide practices.

       Second, there is no evidence that, in participating in the investigation, Perius sought to

uncover fraudulent activity. That fact distinguishes Perius’s actions from the employee’s in Neal

v. Honeywell, Inc., 33 F.3d 860 (7th Cir. 1994), on which Perius relies. The employee in Neal

had concluded that her coworkers were falsifying ammunition test data, and she told the

company’s legal counsel as much. Company counsel then notified the government. Id. at 860.

In conveying her conclusion that her coworkers had engaged in fraudulent activity, the


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employee’s actions spurred the government’s investigation. Id. at 864. Here, however, there is

no evidence that Perius intimated to H&K that he believed fraudulent activity was afoot.

Viewing the facts in the light most favorable to Perius, he simply informed H&K that the sales

and marketing practices they were inquiring about were not confined to his sales region. As

Judge Castillo has explained, the FCA’s whistle blower protections “are aimed at employees

‘exposing fraud’ or attempting to ‘expose fraud,’ not employees with concerns wholly detached

from the purportedly fraudulent activity.” Luckey I, 2 F. Supp. 2d at 1051.

       3. Internal Complaints

       Perius contends that his internal complaints to upper management, along with his refusal

to engage in illegal sales and marketing practices, constituted protected activity. Abbott

responds that Perius’s internal complaints are not protected under the FCA, and that, in any

event, he never complained that the company was committing a fraud on the government or

falsely collecting government funds.

       The Seventh Circuit has suggested, without deciding, that internal complaints could

constitute protected activity under the FCA, noting that protecting only employees who lodge

complaints directly to the government would be a disincentive to use an internal complaint

mechanism, thereby rendering less effective corporate efforts to self-police. See Fanslow, 384

F.3d at 481-82. And in Neal, the court rejected the argument that a plaintiff must raise her

concerns directly to the government to qualify for protection. 33 F.3d at 865. But the Seventh

Circuit has never suggested that an internal complaint that does not include an allegation of fraud

on the government is protected activity. See also Yesudian, 153 F.3d at 740 (“Nor is an

employee’s investigation of nothing more than his employer’s noncompliance with federal or


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state regulations [enough] . . . . To be covered by the False Claims Act, the plaintiff’s

investigation must concern ‘false or fraudulent’ claims.”)

       Here, the record shows that, following the January 26, 2006, compliance presentation,

Perius began to think the old sales and marketing practices his region had used were illegal. He

repeatedly sought clarification of the compliance policy to ensure that his district was acting

lawfully, he relayed his district managers’ concerns that other regions were using off-limits

techniques, and on a few occasions he directly suggested that some practices that he said were

encouraged by top management—specifically, the use of certain studies to encourage off-label

uses of drugs—were illegal. But there is no evidence that Perius ever suggested to his superiors

that the company was committing a fraud on the government. That fact distinguishes his

situation from the cases he relies upon.

       As noted above, Yesudian, a D.C. Circuit case upon which Perius heavily relies, made

clear that a plaintiff’s internal investigation must involve some element of uncovering fraud.

And, unlike Perius, the employee in that case satisfied the requirement by, among other things,

repeatedly advising superiors that he had evidence that his supervisor falsified time and

attendance records, provided inside information to favored vendors to aid them in the bidding

process, accepted bribes from vendors, permitted payments to vendors who did not provide

services to the University, and took University property home for personal use. He also

collected evidence to corroborate his claim. Yesudian, 153 F.3d at 740.

       Perius’s conduct bears more similarity to the employee in Brandon v. Anesthesia & Pain

Management Assocs., Ltd., 277 F.3d 936 (7th Cir. 2002). There, a doctor who became

concerned that his associates were falsifying the bills they submitted to Medicare alerted his


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organization’s shareholders of the doctors’ conduct and contacted Medicare for information

about its billing rules. Id. at 944. The court concluded that the doctor would not have a viable

FCA retaliation claim because “simply trying to convince the shareholders to comply with the

Medicare billing regulations . . . is usually not protected by the FCA.” Id. at 945. The court

rejected, in particular, the notion that such activity would put his employer on notice of potential

FCA litigation, as simply alerting supervisors about the “the possibility of non-compliance with

the rules would not necessarily put them on notice that he was planning to take a far more

aggressive step and bring a qui tam action against them or report their conduct to the

government.” Id. at 945.

       Indeed, like the employee in Brandon, who’s job involved, in part, ensuring compliance

with Medicare rules and regulations, Perius’s complaints were made immediately after the

company announced broad changes to the compliance rules, and his purpose was to ensure that

his region, and the entire company, were following the new rules. That is not enough to trigger

whistleblower protection. See United States ex rel. Batty v. Amerigroup Ill., Inc., 528 F. Supp.

2d 861, 877 (N.D. Ill. 2007) (Castillo, J.) (collecting cases for proposition that spotlighting

compliance issues, and urging compliance, are not enough to warrant whistleblower protection).

       Perius’s behavior bears an even more striking resemblance to the pharmaceutical-

company employee in United States ex rel. Kennedy v. Aventis Pharmaceuticals, Inc., 512 F.

Supp. 2d 1158 (N.D. Ill. 2007) (Kennelly, J.). Like Perius, her internal complaints included

claims that the company was allowing off-label marketing of drugs. The court concluded that

such complaints were insufficient to survive a motion to dismiss because there was no indication

that she informed the company that she suspected it was defrauding the government, nor that she


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was pursuing or assisting in making an FCA claim. Id. at 1168. In short, “[a]n employer is

entitled to treat a suggestion for improvement as what it purports to be rather than as a precursor

to litigation.” Luckey II, 183 F.3d at 733. Perius has not shown that his complaints were

anything more than that.

                                           IV. CONCLUSION

       Because Perius has not presented sufficient evidence upon which a jury could conclude

that he engaged in protected activity under the False Claims Act, the court GRANTS Abbott’s

motion for summary judgment and relinquishes its jurisdiction over the state-law claims.

Perius’s motion for summary judgment is DENIED, Abbott’s motion to strike Perius’s responses

is GRANTED in part and DENIED in part, and Perius’s motion to modify Magistrate Judge

Brown’s protective order is DENIED.



                                              Enter:
                                              /s/ David H. Coar
                                              ____________________________________
                                              David H. Coar
                                              United States District Judge
Dated: June 26, 2009




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